Case 1:24-cv-23962-BB Document 42 Entered on FLSD Docket 01/30/2025 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 24-cv-23962-BLOOM/Elfenbein

 RIONNE JACKSON,

           Plaintiff,

 v.

 RKW RESIDENTIAL, and
 RIVERGATE KW MANAGEMENT,

       Defendants.
 ______________________________/

                               ORDER ON MOTION TO DISMISS 1

           THIS CAUSE is before the Court upon Defendants Rivergate KW Management and RKW

 Residential’s 2 (collectively “Rivergate”) Motion to Dismiss (“Motion”), ECF No. [29]. Plaintiff

 Rionne Jackson (“Jackson”) filed a Response to the Motion to Dismiss, (“Response”), ECF No.

 [30], to which Rivergate filed a Reply, ECF No. [31]. The Court has carefully reviewed the Motion,

 the record in this case, the applicable law, and is otherwise fully advised. For the reasons discussed

 below, Rivergate’s Motion to Dismiss is granted.

      I.   BACKGROUND

           Jackson’s Amended Complaint (“Complaint”) alleges breach of a fiduciary duty arising

 from a contractual lease agreement, by Rivergate failing to provide proper disclosures regarding

 the lease agreement. ECF No. [20] at ¶ 4. Jackson further asserts that Rivergate received Jackson’s



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   On January 21, 2025, Jackson filed a Second Amended Complaint. See ECF No. [41]. “[A] party may
 amend its pleading only with the opposing party’s written consent or the court’s leave.” Fed. R. Civ. P.
 15(a)(2). Thus, the Second Amended Complaint is stricken for failure to seek leave of Court.
 2
   Although Jackson names both RKW Residential and Rivergate KW Management in his Amended
 Complaint, the Motion to Dismiss clarifies that Rivergate KW Management does business as RKW
 Residential. See ECF No. [30] at 3.
Case 1:24-cv-23962-BB Document 42 Entered on FLSD Docket 01/30/2025 Page 2 of 7

                                                           Case No. 24-cv-23962-BLOOM/Elfenbein


 application and failed to open a required account on behalf of the principal. Id. The Complaint

 further asserts that the Court has jurisdiction because the claim falls under the Equal Credit

 Opportunity Act (“ECOA”) and supplemental jurisdiction over claims arising under section 83.49

 of the Florida Statutes. ECF No. [20] at ¶ 3. Construing Jackson’s Complaint liberally, 3 he asserts

 separate claims under the ECOA, Florida Statutes § 83.49, breach of fiduciary duty, and breach of

 contract. ECF No. [20] at ¶¶ 3, 4, 6, 10.

           Rivergate moves to dismiss the Complaint for failure to state a claim because the

 Complaint does not plead the existence of a fiduciary duty, a contract, or a lease agreement, nor

 does the Complaint allege that Jackson ever made a monetary deposit to Rivergate in accordance

 with a lease agreement. ECF No. [29]. Jackson responds that the Complaint sufficiently states a

 claim for relief, and the application was for a property at “Slate Hallandale Beach.” ECF No. [30].

 Rivergate replies that the Complaint is devoid of any acts suffucuent for an ECOA violation. ECF

 No. [31].

     II.   LEGAL STANDARD

           A. Motion to Dismiss

           To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), “a

 complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

 plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 570 (2007)). To meet this “plausibility standard,” a plaintiff must plead

 factual content that allows the court to draw the reasonable inference that the defendant is liable

 for the misconduct alleged. Id. “A facially plausible claim must allege facts that are more than



 3
  Courts must “construe pro se pleadings liberally, holding them to a less stringent standard than those
 drafted by attorneys.” Arrington v. Green, 757 F. App’x 796, 797 (11th Cir. 2018) (citing Hughes v. Lott,
 350 F.3d 1157, 1160 (11th Cir. 2003)).


                                                    2
Case 1:24-cv-23962-BB Document 42 Entered on FLSD Docket 01/30/2025 Page 3 of 7

                                                           Case No. 24-cv-23962-BLOOM/Elfenbein


 merely possible. . . . But if allegations are indeed more conclusory than factual, then the court does

 not have to assume their truth.” Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th Cir. 2012)

 (internal citations omitted). “Factual allegations must be enough to raise a right to relief above the

 speculative level.” Twombly, 550 U.S. at 555.

        B. Federal Question Jurisdiction

        Further, “[a] district court can hear a case only if it has at least one of three types of subject

 matter jurisdiction: (1) jurisdiction under specific statutory grant; (2) federal question jurisdiction

 pursuant to 28 U.S.C. § 1331; or (3) diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).”

 Thermoset Corp. v. Bldg. Materials Corp. of Am., 849 F.3d 1313, 1317 (11th Cir. 2017) (quoting

 PTA-FLA, Inc. v. ZTE USA, Inc., 844 F.3d 1299, 1305 (11th Cir. 2016)) (internal quotations

 omitted). Federal question jurisdiction is governed by the “well-pleaded complaint” rule, “which

 provides that federal jurisdiction exists only when a federal question is presented on the face of

 the plaintiff’s properly pleaded complaint. The rule makes the plaintiff the master of the claim[.]”

 Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987) (internal citation omitted). “Unless a

 ‘substantial’ federal question is presented on the face of the complaint, the case does not arise

 under federal law.” Spear ex rel. Spear v. Publix Super Mkts., Inc., 2008 WL 5276441, at *1 (S.D.

 Fla. Dec. 18, 2008).

        C. Futility of Amendment

        Rule 15 of the Federal Rules of Civil Procedure directs that before trial, “[t]he court should

 freely give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2). Leave to amend

 should be “freely given” absent a showing of “futility of amendment.” Garfield v. NDC Health

 Corp., 466 F.3d 1255, 1270 (11th Cir. 2006) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)).

 When an amended complaint would still be “properly dismissed or be immediately subject to

 summary judgment for the defendant,” a district court could determine that leave to amend the


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Case 1:24-cv-23962-BB Document 42 Entered on FLSD Docket 01/30/2025 Page 4 of 7

                                                           Case No. 24-cv-23962-BLOOM/Elfenbein


 complaint is futile. Rivas v. Bank of N.Y. Mellon, 777 F. App’x 958, 965 (11th Cir. 2019) (quoting

 Cockrell v. Sparks, 510 F.3d 1307, 1310 (11th Cir. 2007)).

 III.   ANALYSIS

            A. Claim under the Equal Credit Opportunity Act

        Rivergate contends that Jackson’s claim under the ECOA fails because the Complaint

 contains no allegation that Rivergate is a creditor as defined under the ECOA, or that the

 underlying action includes a credit transaction with Rivergate. ECF No. [29] at 10. Jackson

 responds that Rivergate discriminated against him by denying the lease application, despite

 Jackson’s clear eligibility to enter into the agreement. ECF No. [30] at 4.

        The ECOA is an anti-discrimination statute that makes it unlawful for a creditor to

 discriminate:

                (1) on the basis of race, color, religion, national origin, sex or marital status,
        or age (provided the applicant has the capacity to contract);
                (2) because all or part of the applicant's income derives from any public
        assistance program; or
                (3) because the applicant has in good faith exercised any right under this
        chapter.

 15 U.S.C. § 1691(a).

        The ECOA defines “creditor” as “any person who regularly extends, renews, or continues

 credit; any person who regularly arranges for the extension, renewal, or continuation of credit; or

 any assignee of an original creditor who participates in the decision to extend, renew, or continue

 credit.” 15 U.S.C. § 1691a(e). To establish a violation of the ECOA, “a plaintiff must show that:

 (1) he exercised in good faith (2) a right under [the ECOA], and (3) as a result, the creditor

 discriminated against him with respect to the credit transaction.” Bowen v. First Fam. Fin. Servs.,

 Inc., 233 F.3d 1331, 1335 (11th Cir. 2000).




                                                    4
Case 1:24-cv-23962-BB Document 42 Entered on FLSD Docket 01/30/2025 Page 5 of 7

                                                          Case No. 24-cv-23962-BLOOM/Elfenbein


        The Complaint asserts that “[t]he defendant (RKW Residential) received the plaintiff’s

 application (security collateral accompanied with a tender) and failed to open a required

 account[.]” ECF No. [20] at ¶ 4. Jackson does not allege any facts that Rivergate is a creditor,

 alleging only that Rivergate is “responsible for overseeing and implementing the policies that are

 currently in place[.]” Id. at ¶ 2; see Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) (“Factual

 allegations must be enough to raise a right to relief above the speculative level.”). Further, Jackson

 does not allege that Rivergate discriminated against him but that by “failing to accept and complete

 their obligations to the lease agreement, [Rivergate] violat[ed] the ECOA.” Id. at ¶ 3. As such, the

 Complaint, taken as true, fails to allege the necessary elements to state a plausible claim for relief

 under the ECOA. See Bowen, 233 F.3d at 1335; 15 U.S.C. § 1691(a)(1)-(3).

        Accordingly, no federal question jurisdiction exists. See Caterpillar Inc. v. Williams, 482

 U.S. 386, 392 (1987) (“[F]ederal jurisdiction exists only when a federal question is presented on

 the face of the plaintiff’s properly pleaded complaint.”). Because no federal question exists, the

 Court declines to exercise supplemental jurisdiction over Jackson’s claims under section 83.49 of

 the Florida Statutes, for breach of fiduciary duty or for breach of contract. See Raney v. Allstate

 Ins. Co., 370 F.3d 1086, 1088-89 (11th Cir. 2004) (“We have encouraged district courts to dismiss

 any remaining state claims when, as here, the federal claims have been dismissed prior to trial.”).

        B. No Leave to Amend

        Rule 15 of the Federal Rules of Civil Procedure directs that before trial, “[t]he court should

 freely give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2). However, a district

 court need not allow an amendment if there has been “(1) ‘undue delay, bad faith, dilatory motive

 or repeated failures to cure deficiencies’ by prior amendments; (2) ‘where allowing the amendment

 would cause undue prejudice to the opposing party[;]’ or (3) ‘where the amendment would be




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Case 1:24-cv-23962-BB Document 42 Entered on FLSD Docket 01/30/2025 Page 6 of 7

                                                            Case No. 24-cv-23962-BLOOM/Elfenbein


 futile.’” Arencibia v. AGA Serv. Co., 533 F. Supp. 3d 1180, 1195 (S.D. Fla. 2021) (quoting Bryant

 v. Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001)).

         Here, Jackson amended his Complaint after reviewing Rivergate’s argument for dismissal. 4

 See ECF No. [20]. Despite Jackson’s attempt to cure the pleading deficiencies, the Amended

 Complaint fails to state a plausible claim for relief under the ECOA. Any amendment would be

 futile because Rivergate is not a creditor, which is a necessary element to seek relief under the

 ECOA. See Rivas v. Bank of N.Y. Mellon, 777 F. App’x 958, 965-66 (11th Cir. 2019) (dismissing

 case with prejudice because “it would have been futile to give [the plaintiff] a third bite at the

 apple”). Accordingly, the Amended Complaint is dismissed with prejudice.

 IV.     CONCLUSION

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. Defendant Motion to Dismiss, ECF No. [29], is GRANTED.

         2. Plaintiff’s Amended Complaint, ECF No. [20], is DISMISSED WITH PREJUDICE.

         3. The Clerk of Court is directed to CLOSE this case. If Plaintiff files a new Complaint,

             he must do so by opening a new case.

         4. To the extent not otherwise disposed of, any scheduled hearings are CANCELED, all

             pending motions are DENIED AS MOOT, and all deadlines are TERMINATED.




 4
  In Rivergate’s prior motion to set aside default, Rivergate argued that Jackson’s initial Complaint, see
 ECF No. [1], failed to state a claim upon which relief could be granted because Rivergate is not a creditor
 under the ECOA. ECF No. [14] at 3.


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Case 1:24-cv-23962-BB Document 42 Entered on FLSD Docket 01/30/2025 Page 7 of 7

                                               Case No. 24-cv-23962-BLOOM/Elfenbein


       DONE AND ORDERED in Chambers at Miami, Florida, on January 30, 2025.




                                               _________________________________
                                               BETH BLOOM
                                               UNITED STATES DISTRICT JUDGE

 cc:   counsel of record




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